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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §   CRIMINAL CASE NO 1:05-CR-78(3)
                                                 §
DWIGHT CORMIER                                   §

                ORDER ADOPTING REPORT AND RECOMMENDATION
                 ON DEFENDANT’S COMPETENCY TO STAND TRIAL

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for consideration of pretrial matters. Judge Giblin previously ordered that Defendant, Dwight

Cormier, undergo a mental examination to determine his competency to stand trial pursuant to 18

U.S.C. § 4241. After conducting a hearing to address the examiner’s findings, Judge Giblin filed

his Report and Recommendation on Defendant’s Competency to Stand Trial [Clerk’s doc. #346].

Judge Giblin concluded that Mr. Cormier is currently incompetent to stand trial under 18 U.S.C. §

4241.

        The parties have not objected to the magistrate’s findings and recommendation. The Court

concludes that the Report and Recommendation on Defendant’s Competency to Stand Trial should

be accepted.    The Court ORDERS that the Report and Recommendation on Defendant’s

Competency to Stand Trial of the United States Magistrate Judge is ADOPTED.

        Therefore, based upon the examiner’s findings and the findings and recommendation

reflected in Judge Giblin’s report, the Court FINDS by a preponderance of the evidence that
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Defendant, Dwight Cormier, is currently not competent to stand trial pursuant to Title 18, United

States Code, Section 4241, because he is unable to assist properly in his defense. The Court

ORDERS that Dwight Cormier be committed to the custody of the Attorney General. Upon

commitment, the Attorney General is directed to hospitalize the Defendant for treatment in a suitable

facility for such a reasonable period of time, not to exceed four months, as is necessary to determine

whether there is a substantial probability that in the foreseeable future he will attain the capacity to

permit the trial to proceed. See 18 U.S.C. § 4241(d). On or before the end of this four-month period,

the Attorney General or his designee is directed to file a report on the current mental state of

Defendant with the Court and counsel. At that time, the Court directs that United States Magistrate

Judge Keith F. Giblin shall revisit the issue of Mr. Cormier’s competency to stand trial pursuant to

18 U.S.C. § 4241(d).


         SIGNED this the 5 day of May, 2006.




                                         ____________________________
                                         Thad Heartfield
                                         United States District Judge




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